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                                                               January 27, 2021



 VIA ECF

 Honorable John P. Cronan
 United States District Court
 Southern District of New York
 500 Pearl Street
 New York, New York 10007

 Re:     S.M. obo J.S. v. New York City Dep’t of Educ.,
         20 Civ. 8361 (JPC)

Dear Judge Cronan,

        This firm has recently assumed the representation of Defendant New York City
Department of Education in the above-referenced matter, wherein Plaintiffs seek attorneys’ fees
and related costs following an administrative hearing under the Individuals with Disabilities
Education Act (“IDEA”), 20 U.S.C. § 1400, et seq. I write on behalf of all parties to jointly and
respectfully request a 45-day adjournment of the initial conference, currently scheduled for 11:30
a.m. on February 8, 2021, until March 25, 2021, or another date otherwise convenient for the Court.
This is the second request for an adjournment of the initial conference.

       The undersigned recently assumed representation from prior counsel. As such, the
requested extension will provide the undersigned sufficient time to review Plaintiffs’ fee demand
and engage in meaningful settlement discussions. The 45-day extension will allow the parties time
to work towards a resolution, and the parties are hopeful this case will not require further judicial
intervention.

       Accordingly, the parties respectfully request a 45-day adjournment of the initial
conference, currently scheduled for 11:30 a.m. on February 8, 2021, until a date on or after March
25, 2021. We thank the Court for its time and consideration of this request.

                                                               Respectfully submitted,

                                                               /s/

                                                               Evan F. Jaffe
                                            This request is GRANTED. The IPTC scheduled for February 8, 2021 at
                                            11:30 a.m. is adjourned to March 29, 2021 at 11:00 a.m.
cc:    Justin Coretti, Esq. (VIA ECF)
       Attorneys for Plaintiffs
                                            SO ORDERED.
                                                                         ___________________________
                                            Date: January 27, 2021       JOHN P. CRONAN
                                                  New York, New York     United States District Judge
